KuRT 00HNSoN 13177-081
P.o. Box 1000
MARIoN, IL 62959

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA, Case NO.: 18-Cr-40043~JPG
Plaintiff, RULE 33 NEW TRIAL

V.

KURT F. JOHNSON,

Defendant.
/

The dramatic part of the trial appeared fair enough. However, it was all
too scripted in unfairness and inequities that the drama was as far removed
asffiction is to reality. For real life parties and real life consequences
this court allowed, and could have very well intended for, a foundation of im-
possibility to be laid. To us Pro Se as a scapegoat is convenient but no att-
orney could of ever been placed with such disadvantages and been effective or
deemed ready for trial. First off the attorney would not have been kept in
the dark as to scheduling or rulings and non-rulings from the court as JOHNSON
was. An attorney would not have been kept in the dark by the government on all
informal discovery requests. An attorney would have had bare minimum access to
phone or email to conduct discovery an interview witnesses or potential witness-
es. An attorney would not have learned on 9-14-18 that none of the 17(c) sub-
poenas would be issued except for Nell Leffel who was of minimal relevance and
a government's witness. An attorney wouldn't have learned the day of trial that
none of the subpoenas were served except upon an arrested witness. An attorney

would have had some access to minimal inestigative tools to help locate witness-

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es or evidence. An attoney would not have learned that the Marshai$ did not
attempt to serve Judge Donoghue as a Neww York resident but rather in her for-
eign office until the day after trial. The Letter Rogatory only becoming necc-
essary after this revelation. A non-attorney will necessarily have some dis-
advantages from not being represented but this court made no efforts to mitigate
them, but instead exacerbated them with its unnecessarily rushed calendar and
discovery foreclosures. JOHNSON couldn't even obtain basic organization tools
like post-its and file folders to ready for trial. Discovery from the govern-
ment was meted out on last minute basis with an already truncated limitation of
access to the discovery reading computer. lime for fair and equitable prepar-
ation was stolen at every given opportunity in order to corral the defense in-
to an untenable and unwinnable trial. A trial victory that hung precariously
on the ability to deny the existence of the law (treaty) relied upon which
`fully sets out the procedure followed and the jurisdiction given, and the ex-
istence of the judgment itself. Both of which with fair access to time and
discovery could have been addressed definitively. The two attached post-trial
letters to Judge Donoghue (attachment A) and Senator Corey Booker (attachment
B) were pre-trial discovery attempts that were simple and yet precluded by the
government's trial tactics and this court's indifference to the consequential
inequities developing. A little communication and the opportunity to complete
it would have netted the treaty easy enough even if the Senator does not mail
it. Enouch information would have been gained to obtain the scanned and rejec-
ted copy from CTU and Mrs. hill through mail records. The outcome of the trial
and narrative would have been very different if just the treaty was introduced
as a law governing the procedure executed by JOHNSON. Foreclosing the discovery
to the Library of Congress further prevented any mitigation of this unfair ad-
vantage of presumption, concealments; and deceit intended by the government's

trial tactics. without any outside communications from your secret sequestering

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prison there was no way to confirm the dates of and parties to the FBI‘s visit
to Stephen Sherak and whether the lack of 302 is an intentional Brady violation
or not. it was impossible to speak with exculpatory witnesses to even learn
if they were contacted by the FBI as part of the investigation and withheld or
purposefully not contacted. l

The court can listen to just a few exerpts from recorded calls and learn
that there is far more substance to the facts of this case than the minimalist
evidence the government offered and defense was precluded from expanding. The
Marion County Jail phone recording are reliable and were not offered into evid-
ence because the witness Stephen Sherak was not available to testify because of
fear induced by threats from the government. These recordings could have been
introduced by the hearsay exceptions of Rule 804 if defense had timely informa-
tion with discovery tools to understand the nature of Sherak`s refusal to test-
ify before the second half of the trial. Call number 67283076 10:08 - 12:38
mentions FBI visit and interview. Further information about visits on 67287682
8:07 - 9:50 and 12:41 - 13:20. Threats to witness and obstruction by withhold-
ing evidence 67292408 9:20 - 12:54 (outrageous government conduct). All of
this was substantive pretrial discovery and remained undeveloped and unverif-
ied while JOHNSON was denied even bare‘minimums of communication with complete
isolation from the outside world. Even communication with the court and the
government were controlled to maximize all disadvantages and by the so-called
victims which if evidence was not concealed would reveal were conspirators.
The whole thing is conspiratorial, conflicted, concealing, and stinks to the
highest heavens.
` CONCLUSION

A new trial is warranted where a fair presentation of available evidence
is afforded both parties. The so-called victims had no urgent risk with the

bankruptcies sealed. The government would not have been prejudiced by the trial

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lingering past Mr. 0uinley's transfer. There was still plenty of time on the
speedy trial clock and waivers available. Truth matters and the truth never
got its day in court or the due process of notice an opportunity to be heard.
Avery different trial would have occurred and most likely a very different out-
come if the treaty, the judgment, the conditions of confinement incorporated
with the outrageous government conduct were fairly developed and presented to
the jury, and witnesses felt safe to share their testimony.

0ctober 9, 2018
HOUSTON V. LACK

 

 

f£xec, r-Kurt-F. Johnson for
KU / . JOHNS Defendant.

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KURT JOHNSON 13177-081
P.O. Box 1000
MARIoN, 11 62959

THE HONORABLE JUDGE JOAN E. DONOGHUE
INTERNATIONAL COURT OF JUSTICE

760 UNITED NATIONS PLZ.

`NEW YORK, NY 10017

Re: Need of verification
Dear Judge Donoghue;

I have enclosed a copy of the Letter Rogatory that 1 have sent to you
though diplomatic channels. 1 have been unable to reach you for over a year
to my own detriment. 1 was recently convicted of bankruptcy fraud for attempt-
ing to enforce a right of claim I obtained through a judgment you entered on
1-14-16. lAs part of that judgment 1 claimed 1 am held in a secret and illegal
prison. This remains true only the crimes committed are far worse than 1 list-
ed. My conviction is manufactured by obstruction of justice, threats against
witnesses, theft of exculpatory evidence, and censorship to prevent any over-
sight or accountability. The set the narrative for trial that your judgment
does not exist. Blocked me from all possible defenses and of course got their
fraudulent conviction. My need to hear from you in the most simple affirmation
is now a matter of justice. Even if you intend a formal response to the Letter
Rogatory a terse but official statement on letterhead that you did enter a
judgment for Executor-kurt-F.-Johnson on 1-14-16 would be enough to have my
motions for Judgment of Acquittal and New Trial already filed to be seriously
considered. would you kindly send this letter to me at the above address and
also copy the court directly at 301 W. Main St., Benton, 1L 62812 since there
is a high likelihood that my captors will never deliver your letter to me? If
no such judgment exist 1 would be just as interested in this truth handled the
same way. Then I could accept my punishment as just and argue for mitigation.
Thank you for your kind consideration of this matter.

   
   
 

0ctober 5, 2018 Sinc

rt-F.-Johnson

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KURT F. JOHNSON 13177~081
P.O. BOX 1000
MARION, IL 62959

SENATOR COREY BOOKER
359 DIRKSEN SENATE BDLG.
WASHINGTON, DC 20510

2 RIVERSIDE DR. SUITE 505
CAMDEN, NJ 83103

Re: Needed Mailing of law

Dear Senator Booker;

1 was born in Trenton, NJ on 11-19-62. 1 could use your help. 1 was in
the CMU with Stephen Sherak until his release and 1 remain here. In 2016 he
told me you mailed in a copy of the International Financial Transactions
Grievance and Corporate Resolution Treaty. 1 do not know if this is the correct
name but the treaty sought in substance was an International Private Administr-
ative Procedures Treaty passed in 1972 and amended in 1998 by President Clinton.
The one you mailed in was rejected and never delivered because you repackaged
the Library of Congress envelope in your own. A remailing they won't accept
even for a Senator. 1 nned you to mail in a copy of the treaty directly from
you. 1 have been recently (9-26-18) convicted of bankruptcy fraud because 1
could not produce this law 1 relied upon for my acts and they presumed it didn't
exist. Receiving this would help me get a motion for a new trial granted and
materially speak to my actual innocence. Mr. Sherak said he would send me a
copy but with his recent troubles 1 can no longer hold out hope for this. My
sentencing is 1-3-19 so a speedy response would mean the world to me. Thank
you so much.

0ct0ber 3, 2018 1 Since el

   
 

Q/Ex utor -F.-Johnson

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